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  Attorneys for Plaintiff

                       UNITED STATES DISTRICT COURT
                                  DISTRICT OF HAWAII
   UNITED STATES OF AMERICA,                  CIVIL NO. 1:22-cv-00051-DKW-RT

                            Plaintiff,        NOTICE OF ACTION
      v.
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                                                   District Judge: Derrick K. Watson
   DEPARTMENT OF HEALTH, STATE
   OF HAWAII; ELIZABETH A. CHAR,                   Magistrate Judge: Rom Trader
   in her official capacity as Department of
   Health Director; MARIAN E. TSUJI, in
   her official capacity as Department of
   Health Deputy Director;

                          Defendants,

   and

   SIERRA CLUB; BOARD OF WATER
   SUPPLY, CITY AND COUNTY OF
   HONOLULU,

                          Intervenor-
                          Defendants.


         Plaintiff, the United States of America, files this notice of action to inform

 the Court of developments that could impact the above-captioned case. The United

 States notes the following:

         1.    On March 7, 2022, the Secretary of Defense announced the

 Department of Defense’s decision to defuel and permanently close the Red Hill

 Bulk Fuel Storage Facility. See Exhibit A.

         2.    The United States has advised Defendant and Intervenor-Defendants

 of this decision.




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       3.     The United States will confer with Defendant and Interevenor-

 Defendants regarding the path forward in this litigation in light of the decision to

 permanently close Red Hill.

       4.     Once the parties have conferred, the United States will inform the

 Court of proposed next steps, such as holding a status conference or an extension

 or stay of all pending deadlines.

       Dated: March 7, 2022              Respectfully submitted,

                                         TODD KIM
                                         Assistant Attorney General
                                         Environment & Natural Resources Division
                                         U.S. Department of Justice

                                         /s/ Lucy E. Brown
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                           CERTIFICATE OF SERVICE

       I hereby certify that, on the date and by the method of service noted below, a

 true and correct copy of the foregoing was served on the following:

 Via CM/ECF Electronic Service:

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       DATED: March 7, 2022, at Washington, D.C.



                                                    /s/ Lucy E. Brown
                                                    Attorney
                                                    U.S. Department of Justice




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